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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                              WACO DIVISON

 LATINOS FOR TRUMP, BLACKS                §
 FOR TRUMP, JOSHUA MACIAS,                §
 M.S., B.G., J.B., J.J.,                  §
                                          §
       Plaintiffs.                        §
                                          §
                                          §
 v.                                       §      CIVIL ACTION NO. 6:21-CV-00043
                                          §
 PETE SESSIONS, MITCH                     §
 McCONNELL, NANCY PELOSI,                 §
 MARK ZUCKERBERG, CHUCK                   §
 SCHUMER, ALEXANDRIA                      §
 OCASIO-CORTEZ, BRAD                      §
 RAFFENSPERGER, ALL                       §
 MEMBERS OF THE 117TH U.S.                §
 CONGRESS, et al.,                        §      JURY TRIAL REQUESTED

       Defendants.

                 DAVIS PLAINTIFFS’ NOTICE OF DISMISSAL

      1.     For the reasons set forth in Paul M. Davis’s Motion to Withdraw

(“Motion to Withdraw”) as Counsel for Latinos for Trump, Blacks for Trump, Joshua

Macias, B.G., and M.S. (Doc. No. 17), Plaintiffs J.B. (“Jeremy Bravo”), J.J., P.P., R.D.,

and H.H. (collectively, the “Davis Plaintiffs”) hereby file this Notice of Dismissal

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). The factual statements in the Motion to

Withdraw are incorporated herein by reference.

      2.     The Davis Plaintiffs filed the Original Complaint (Doc. 1) on January

18, 2021 and the most recent amended complaint on February 16, 2021 (Doc. 14). As

of yet, no Defendant has been served.
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        3.       As set forth in the Motion to Withdraw, the Davis Plaintiffs wish to

pursue a different case strategy with different evidence and claims than the SoRelle

Plaintiffs.1 The Davis Plaintiffs believe that the claims and evidence the SoRelle

Plaintiffs wish to assert be would be detrimental to their own claims. Both experts

of record in this case also wish not to be in a case of the nature the SoRelle Plaintiffs

wish to pursue. The expert witnesses wish to provide support to the Davis Plaintiffs’

claims.

        WHEREFORE, the Davis Plaintiffs hereby file this notice that their various

causes of action are dismissed from the above-captioned case without court order,

pursuant to Fed. R. Civ. P. 41(a)(1)(a)(i).


                                                    /s/ Paul M. Davis
                                                    Paul M. Davis
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                                                    ATTORNEY FOR DAVIS PLAINTIFFS




1
  All capitalized terms not defined herein shall have the meaning ascribed to the same in the Motion to Withdraw
(Doc. No. 16).
2
  Certificate of Formation submitted to Texas Secretary of State, filing pending.
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                           CERTIFICATE OF SERVICE

      I hereby certify that the SoRelle Plaintiffs have been served with the foregoing

document via the Court’s ECF filing system on their counsel of record, Kellye SoRelle

on February 19, 2021.

                                       /s/ Paul M. Davis
                                       Paul M. Davis
